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     ROBERT HUNTER BIDEN
15
16                         UNITED STATES DISTRICT COURT
17                        CENTRAL DISTRICT OF CALIFORNIA
18   ROBERT HUNTER BIDEN, an                Case No. 2:23-cv-8032
     individual,
19                                          NOTICE OF RELATED CASE (L.R.
                                            83-1.3.1)
20         Plaintiff,
                                            (To be related to Case No.
21                  vs.                     2:23−CV−07593 HDV (KSx))
22   RUDOLPH W. GIULIANI, an
23   individual, GIULIANI PARTNERS,
     LLC, a Limited Liability Company,
24   GIULIANI GROUP, LLC, a Limited
     Liability Company; GIULIANI
25   SECURITY & SAFETY, LLC, a Limited
     Liability Company, ROBERT J.
26   COSTELLO, an individual, and DOES 1
27   through 10, inclusive;
28         Defendants.


                                 NOTICE OF RELATED CASE
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 1         Pursuant to Local Rule 83-1.3.1, Plaintiff Robert Hunter Biden (“Plaintiff”)
 2   hereby identifies Robert Hunter Biden v. Garrett Ziegler, et al., Case No.
 3   2:23−CV−07593 HDV (KSx), filed September 13, 2023 (C.D. Cal.) (“the Ziegler
 4   action”) as related to the instant case.
 5         The Ziegler action and the instant action are related under Local Rule 83-1.3.1(a)
 6   because they “arise from the same or a closely related transaction, happening or event.”
 7   In both actions, Plaintiff seeks redress for the Defendants having hacked into, tampered
 8   with, manipulated, altered, copied and damaged data that they were given that was
 9   taken or stolen from Plaintiff’s devices or storage platforms, including what Defendants
10   claim to have obtained from Plaintiff’s alleged “laptop” computer. In both actions,
11   Plaintiff alleges that, although the precise manner by which the Defendants obtained
12   Plaintiff’s data remains unclear, Defendants have, to at least some extent, accessed,
13   tampered with, manipulated, altered, copied and damaged Plaintiff’s data, and their
14   actions are illegal, unauthorized and without Plaintiff’s consent. In both actions, data
15   that Defendants purport had belonged to Plaintiff appears to have been tampered with,
16   manipulated and altered both before and after Defendants received it and after
17   Defendants began illegally tampering with it themselves. Moreover, Defendant Ziegler
18   might have obtained some of the data that is alleged to have come from the purported
19   “laptop” from an associate of Defendants Giuliani and Costello; and one or more of the
20   Defendants in both cases might have obtained some of the data alleged to have come
21   from the purported “laptop” either directly or indirectly from the same individual, John
22   Paul Mac Isaac.
23         The Ziegler action and the instant action also are related under Local Rule 83-
24   1.3.1(b) because they “call for determination of the same or substantially related or
25   similar questions of law and fact.” Plaintiff asserts the same three causes of action
26   against Defendants in each case, including claims for Violation of the Computer Fraud
27   and Abuse Act (18 U.S.C. § 1801), Violation of the California Computer Data Access
28   and Fraud Act (Cal. Penal Code § 502), and violation of California’s Unfair
                                                1
                             COMPLAINT AND DEMAND FOR JURY TRIAL
      Case 2:23-cv-08032 Document 5 Filed 09/26/23 Page 3 of 4 Page ID #:32



 1   Competition Law (Cal. Bus. & Prof Code §§ 17200, et seq.). Plaintiff seeks identical
 2   forms of relief in the Ziegler action and the instant action. Furthermore, to at least some
 3   extent, both actions are likely to require documents, deposition testimony and trial
 4   testimony from some of the same witnesses who have knowledge concerning the
 5   computer-hacking activities at issue in the case.
 6         The Ziegler action and the instant action also are related under Local Rule 83-
 7   1.3.1(c) because “for other reasons [the two actions] would entail substantial
 8   duplication of labor if heard by different judges.” Both actions arise from interrelated
 9   facts and present identical theories of recovery. Plaintiff submits that the interests of
10   judicial economy and efficiency would be served, and duplication of labor would be
11   avoided, if the same District Judge and Magistrate Judge were to hear the case because
12   similar issues are likely to arise in any motion practice concerning the pleadings, in any
13   disputes concerning the scope and nature of discovery, and with respect to the
14   preparation for and conduct of trial.
15         In light of the foregoing, Plaintiff respectfully submits that the Ziegler action and
16   the instant action are related cases under Local Rule 83-1.3.1.
17
18                                                    Respectfully submitted,

19   Dated: September 26, 2023
20                                                    WINSTON & STRAWN LLP

21                                                    By:______________________
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27                                                    By:
28                                                          Bryan M. Sullivan
                                                  2
                              COMPLAINT AND DEMAND FOR JURY TRIAL
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                          COMPLAINT AND DEMAND FOR JURY TRIAL
